 

Cage

0 AN HD nH fF WY NY

Ro Be WN NON ON NON. Mb es BR ee Re eS ee oS me
oN OW BR WN KF OO WON DA FF WN FF ©

 

 

b 2:20-cr-00326-JFW Document 167-4 Filed 03/08/21 Page1of3 Page ID #:1583

DECLARATION OF JEFFREY MARTIN

I, Jeffrey Martin, declare:

k. I am a statistician hired as an expert in this case and have previously
supplied a declaration in this case.

2. This declaration is to clarify and elaborate on paragraph 3a in my last
declaration dated February 16", 2021 and which was referred to in the Government’s
response.

a Page 57 of the November 10", 2020 letter from Kiry K. Gray, District
Court Executive/Clerk of Court, to Carel Alé and Charles Snyder is a listing of
participant numbers (“Part. No.”) from pool 801190901. I interpreted this listing to be
in response to a request for item #16 showing for summoned prospective grand jurors
the “Records of whether each such juror was directed to report during the on-call period
and reported as directed are enclosed with this letter.”

4, I was supplied spreadsheets reflecting the 2019 Western Division Master
Jury Wheel and the 2019 Southern Division Master Jury Wheel as described in Kiry K.
Gray’s letter to Cuauhtemoc Ortega on November 2", 2020. The spreadsheet for the
2019 Western Division is titled 12. JMS _Export_2019_ Western REDACTED and the
spreadsheet for the 2019 Southern Division is titled 13_JMS_Export_2019_Southern
REDACTED. The spreadsheets include lists of persons summoned and persons not
summoned and are organized by participant number (“part_no”). Attached is a print
screen of a few records of the spreadsheets. The print screen for the 2019 Southern
Division spreadsheet shows the first participant number from page 57 in the first row
(Participant Number 804585251).

The participant numbers on page 57 for pool 801190901 are all reflected
in the 2019 Southern Division spreadsheet titled 13_ JMS_Export_2019 Southern
REDACTED and are not found in the 2019 Western Division spreadsheet titled
12 JMS Export 2019 Western REDACTED. While I matched participant numbers

on page 57 to the 2019 Southern Division spreadsheet, the pool number 801190901
1

 

 

 

 
 

Cas

0 won DA WA BP WW NO

NO NO NH NO NN N N N NN FY Ff KF YF FF YF FF PF FY YS
CoN DWN HN BR WN KF ODO DWHN DN FW NY KF CO

 

e 2:20-cr-00326-JFW Document 167-4 Filed 03/08/21 Page 2of3 Page ID #:1584

does not exist in either the 2019 Southern Division spreadsheet or the 2019 Western
Division spreadsheet. Note that four of the participant numbers on page 57 have been
crossed out and cannot be read. Two of the participant numbers are handwritten on the
list.

6. The participant numbers on the four other pools, 100190106 (page 53),
100190602 (page 55), 100191001 (page 58), and 100191002 (page 59), are in the 2019
Western Division spreadsheet and not in the 2019 Southern Division spreadsheet.

F Because the letter of November 10", 2020 only referred to the 2019
Western Division and only provided form AO-12 for the 2019 Western Division, I
expected that Mr. Huizar’s grand jury was selected solely from the 2019 Western
Division.

8. However, the analysis above of the participant numbers is inconsistent
with Mr. Huizar’s grand jury being selected solely from the 2019 Western Division.
This inconsistency is the basis of paragraph 3a of my prior declaration.

9. If I were supplied the participant numbers (and not Name or Address) for
the persons who were summoned to serve and who actually served on Mr. Huizar’s
grand jury, I could determine which divisions were used for Mr. Huizar’s grand jury.

10. IfMr. Huizar’s grand jury was selected from both the 2019 Western
Division and the 2019 Southern Division, I would need to have information on how the

divisions were combined in order to perform a demographic analysis of the jury wheel.

Executed on Gln, , 2‘ 22) at Atlanta, Georgia.
J 7 a6 EY MARTIN

 

 

 

 
 

Case 2:20-cr-00326-JFW Document 167-4 Filed 03/08/21 Page 3of3 Page ID #:1585

         
   
         
   
    
 

Pathe ue SMe Ree (ec

a ee le i on Ree cet eer

  

   
  

        
    

    

   
 
       
         
    
   
   
    

a ‘io — ee oS |

er t FP = i Se
Paste uv :- A t es oR Conditional Format as Cell insert Delete Format Sort & Find & |

coe $ ‘ Formatting Table * Styles’ Penny Filter - Select > |
Clipboard = «G Font ii Alignment a} Number f Styles Celis Editing i “a
Al * * ~ fr © part_no ™

ie’ oc a
100190105 *
100190106
100190106 *
100190106 *
| 204232894

204233063

204233065

| 208 x
204233158

0423

204233336.

204233371

204233401

204233505

204233533

204233599

204233676 c *

204233785, 100190106 * : :
é Summoned | Summoned (Query) _ NotSummoned | Not Summoned (Query)

 

MD Type here to search oO oi ee vu a a & = @eso

    

= AutoSum -

© Fill -
Insert Delete Format Sort & Find &

» @ Clear - Filter - Select

      

| General ry =
i iy 9 1 Conditional Format as Cell
i Formatting: Table- Styles |

Styles i

   
  
  

 

 

tae S Biu- > ss $2 5 ig &

   

   

 

Clipboard Fant fii Alignment

 

A17116 Ee vfs 804585251

20 pool_no ~ ‘imame redacted

 

801191102 *
804585254 801191002 *
47149} 804585254 801200103 *
171201 804585261 801191001*
17121 804585263 801191202 *
17122) 804585265 801191002 *
47123) 804585267 801191002 *
oe 804585271
804585286 80119
6 804585288 801191101 *
804585288 801200501 *
17128) 804585308. BOLIGOBO2 ©
fe 804585312) 801191002 *
47130, 804585316
ie 208585317; St
47132, 804585318
47133) 804585324 801191001 *
17134) 804585324 801191203 *
47135) 804585338 801190502 *
417136. 804585338 801190702 + 2
$ | Summoned | Summoned (Query) |

 

 

   

Not Summoned Not Summoned (Query)

: 3:41 PM i
7 eu 2/24/2021 ® |

g 0 Type here to search : Oo Bt Bo mn eo a & ee we & S
